                                                                                                                  Case 3:24-cv-03811-JSC Document 191 Filed 08/05/24 Page 1 of 2




                                                                                                             1 Thomas A. Harvey (State Bar No. 235342)
                                                                                                               Christopher J. Wiener (State Bar No. 280476)
                                                                                                             2 Bina G. Patel (State Bar No. 315352)
                                                                                                               COBLENTZ PATCH DUFFY & BASS LLP
                                                                                                             3 One Montgomery Street, Suite 3000
                                                                                                               San Francisco, California 94104-5500
                                                                                                             4 Telephone: 415.391.4800

                                                                                                             5 Email: ef-tah@cpdb.com, ef-cgw@cpdb.com, ef-bgp@cpdb.com
                                  One Montgomery Street, Suite 3000, San Francisco, California 94104-5500




                                                                                                             6 Matthew J. Oppenheim (admitted pro hac vice)
                                                                                                               Nicholas C. Hailey (admitted pro hac vice)
                                                                                                             7 Audrey L. Adu-Appiah (admitted pro hac vice)
                                                                                                               OPPENHEIM + ZEBRAK, LLP
                                                                                                             8 4530 Wisconsin Ave., NW, 5th Floor
                                                                                                               Washington, DC 20016
                                                                                                             9 Telephone: 202.480.2999
COBLENTZ PATCH DUFFY & BASS LLP




                                                                                                               Email: matt@oandzlaw.com; nick@oandzlaw.com; aadu-appiah@oandzlaw.com
                                                                                                            10
                                                    415.391.4800 • Fax 415.989.1663




                                                                                                               Jennifer Pariser (admitted pro hac vice)
                                                                                                            11 Andrew Guerra (admitted pro hac vice)

                                                                                                            12 Timothy Chung (admitted pro hac vice)
                                                                                                               OPPENHEIM + ZEBRAK, LLP
                                                                                                            13 461 5th Avenue, 19th Floor
                                                                                                               New York, NY 10017
                                                                                                            14 Telephone: 212.951.1156
                                                                                                               Email: jpariser@oandzlaw.com; andrew@oandzlaw.com; tchung@oandzlaw.com
                                                                                                            15
                                                                                                               Richard S. Mandel (admitted pro hac vice)
                                                                                                            16 Jonathan Z. King (admitted pro hac vice)
                                                                                                               Richard Dannay (admitted pro hac vice)
                                                                                                            17 COWAN, LIEBOWITZ & LATMAN, P.C.
                                                                                                               114 West 47th Street
                                                                                                            18 New York, NY 10036-1525
                                                                                                               Telephone: 212.790.9200
                                                                                                            19 Email: rsm@cll.com; jzk@cll.com; rxd@cll.com

                                                                                                            20 Attorneys for Plaintiffs
                                                                                                               CONCORD MUSIC GROUP, INC., et al.
                                                                                                            21
                                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                            22
                                                                                                                       NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                                                                                                            23
                                                                                                               CONCORD MUSIC GROUP, INC., et al.,        Case No. 3:24-cv-03811-JSC
                                                                                                            24
                                                                                                                              Plaintiffs,                NOTICE OF APPEARANCE OF
                                                                                                            25                                           THOMAS A. HARVEY
                                                                                                                      v.
                                                                                                            26                                           Trial Date:         None Set
                                                                                                               ANTHROPIC PBC,
                                                                                                            27
                                                                                                                              Defendants.
                                                                                                            28

                                                                                                                                                                          Case No. 3:24-cv-03811-JSC
                                                                                                                                   NOTICE OF APPEARANCE OF THOMAS A. HARVEY
                                                                                                                    Case 3:24-cv-03811-JSC Document 191 Filed 08/05/24 Page 2 of 2




                                                                                                             1
                                                                                                                 TO THE CLERK AND ALL PARTIES AND COUNSEL OF RECORD:
                                                                                                             2
                                                                                                                        PLEASE TAKE NOTICE that Thomas A. Harvey of the law firm Coblentz Patch Duffy &
                                                                                                             3
                                                                                                                 Bass LLP hereby appears as counsel for Plaintiffs Concord Music Group, Inc., et al. Copies of all
                                                                                                             4
                                                                                                                 pleadings, papers, notices, and other filings in this action should be henceforth served upon the
                                                                                                             5
                                                                                                                 following, in addition to those attorneys already on record with the Court:
                                  One Montgomery Street, Suite 3000, San Francisco, California 94104-5500




                                                                                                             6
                                                                                                                        Thomas A. Harvey
                                                                                                             7          COBLENTZ PATCH DUFFY & BASS LLP
                                                                                                                        One Montgomery Street, Suite 3000
                                                                                                             8          San Francisco, California 94104
                                                                                                                        Telephone: 415.391.4800
                                                                                                             9          Facsimile: 415.989.1663
                                                                                                                        Email: ef-tah@cpdb.com
COBLENTZ PATCH DUFFY & BASS LLP




                                                                                                            10
                                                    415.391.4800 • Fax 415.989.1663




                                                                                                            11 DATED: August 5, 2024                        COBLENTZ PATCH DUFFY & BASS LLP

                                                                                                            12

                                                                                                            13
                                                                                                                                                            By:          /s/ Thomas A. Harvey
                                                                                                            14                                                    THOMAS A. HARVEY
                                                                                                                                                                  Attorneys for Plaintiffs
                                                                                                            15                                                    CONCORD MUSIC GROUP, INC., et al.
                                                                                                            16

                                                                                                            17

                                                                                                            18

                                                                                                            19

                                                                                                            20

                                                                                                            21

                                                                                                            22

                                                                                                            23

                                                                                                            24

                                                                                                            25

                                                                                                            26

                                                                                                            27

                                                                                                            28

                                                                                                                                                            2                   Case No. 3:24-cv-03811-JSC
                                                                                                                                         NOTICE OF APPEARANCE OF THOMAS A. HARVEY
